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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR12-062-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   RICHARD A. ORTIZ,                    )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Heroin and Methamphetamine

15 Date of Detention Hearing:     April 4, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e). Defendant is also facing

03 charges of violation of supervised release related to the instant charges. (Case No. Cr07-0275.)

04 Defendant does not contest detention in either case.

05          2.     Defendant’s criminal history includes failures to appear for court and resultant

06 warrant activity, active warrants, illegal drug use, new criminal activity, and absconding from

07 supervision.    He was not interviewed by Pretrial Services and much of his background

08 information is unknown or unverified.

09          3.     Taken as a whole, the record does not effectively rebut the presumption that no

10 condition or combination of conditions will reasonably assure the appearance of the defendant

11 as required and the safety of the community.

12 It is therefore ORDERED:

13      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14          General for confinement in a correction facility separate, to the extent practicable, from

15          persons awaiting or serving sentences or being held in custody pending appeal;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17          counsel;

18      3. On order of the United States or on request of an attorney for the Government, the

19          person in charge of the corrections facility in which defendant is confined shall deliver

20          the defendant to a United States Marshal for the purpose of an appearance in connection

21          with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel



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01       for the defendant, to the United States Marshal, and to the United State Pretrial Services

02       Officer.

03       DATED this 4th day of April, 2012.

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05                                                     A
                                                       Mary Alice Theiler
06                                                     United States Magistrate Judge

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